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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                                4:13CR3025
       vs.
                                                      MEMORANDUM AND ORDER
JESUS SAMANIEGO-GARCIA,
                      Defendants.


       This matter is before the Court on the Defendant Jesus Samaniego-Garcia’s
Motion to Proceed in Forma Pauperis, (Filing No. 133), in which Defendant seeks leave
to file an appeal in forma pauperis. A party may proceed on appeal in forma pauperis
without further authorization unless the district court certifies that the appeal is not taken
in good faith or finds that the party is otherwise not entitled to proceed on appeal in
forma pauperis. No such certification has been be entered for this direct criminal appeal,
and the Defendant has satisfied the requirements of Federal Rule of Appellate Procedure
24(a)(3). (See Filing Nos. 13 and 14).

       Accordingly,

       IT IS ORDERED:

       1)     Defendant Jesus Samaniego-Garcia’s Motion to Proceed in Forma
              Pauperis, (Filing No. 133), is granted; and

       2)     Defendant may proceed in forma pauperis on appeal.

       3)     The clerk’s office is directed to forward a copy of this order to the Clerk of
              Court of the Eighth Circuit Court of Appeals.

       October 1, 2013.

                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
